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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


    IN THE MATTER OF THE EXTRADITION
    OF MICHAEL L. TAYLOR                         No. 20-mj-1069-DLC


    IN THE MATTER OF THE EXTRADITION
    OF PETER M. TAYLOR                           No. 20-mj-1070-DLC


      MEMORANDUM ON RESPONDENTS’ MOTION TO QUASH ARREST WARRANTS
                    OR FOR RELEASE FROM DETENTION

CABELL, U.S.M.J.

I.      INTRODUCTION

        In January 2020, a Japanese court issued arrest warrants for

respondents1     Michael    Taylor   and   his   son,   Peter   Taylor,   for

allegedly facilitating the escape of former Nissan CEO Carlos Ghosn

from Japan, where Ghosn was facing significant criminal charges,

to Lebanon.       The warrants sought the Taylors’ arrests for the

“harboring of criminals and accessoryship of violation of the

Immigration Control and Refugee Recognition Act (Article 71, 25

II) case.”      (D. 17-1, 17-2).

        After learning that the respondents had returned to the United

States from the United Arab Emirates, which has no extradition

treaty with Japan, the government of Japan requested that the



1 The requested party in an extradition proceeding has been referred to by
various names over time, including “defendant,” “respondent,” “petitioner” or
“relator.” See, e.g., United States v. Ramnath, 533 F. Supp. 2d 662, 664 n.2
(E.D. Tex. 2008). When not referring to the Taylors by their proper names,
the court uses the term “respondent” here.
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United    States     issue     provisional        arrest       warrants   for     the

respondents    pursuant       to   the   two    countries’      joint   extradition

treaty.     (D. 1); Treaty on Extradition, U.S.-Japan, art. IX,

effective Mar. 26, 1980, 31 U.S.T. 892 (the Treaty).                      On May 6,

2020, the United States filed a complaint in support of the

respondents’     provisional        arrests      towards     extradition.         The

complaint indicated among other things that Japanese officials had

charged the Taylors with violating Article 103 of the Japanese

Penal Code, which prohibits one from harboring a criminal or

helping the criminal to escape.2               This court issued the requested

provisional arrest warrants and the respondents were arrested on

May 20, 2020.       (D. 8).

       Against that backdrop, the respondents moved on June 8, 2020

to quash the provisional arrest warrants or alternatively to be

released on bail pending a formal extradition hearing.                     (D. 17).

The court convened a hearing on the motion on June 22, 2020.                      (D.

30).     Subsequently, on June 29, 2020, and while the motion was

still    pending,    Japan     submitted        its   formal    request    for    the

respondents’     extradition        to   the     State     Department     (D.    37),

effectively mooting any issues relating to the legitimacy of the

provisional arrest warrants, and leaving only the issue of bail


2 Article 103 provides as follows: “A person who harbors or enables the
escape of another person who has either committed a crime punishable with a
fine or greater punishment or has escaped from confinement shall be punished
by imprisonment with work for not more than 2 years or a fine of not more
than 200,000 yen.”

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for consideration.       See, e.g., Martinez v. United States, 828 F.3d

451, 470 (6th Cir. 2016) (since provisional arrest ended when

Mexico submitted its formal extradition request, challenges to

provisional arrest were moot); United States v. Yee-Chun, 657 F.

Supp. 1270, 1271 n.1 (S.D.N.Y. 1987) (same).              On July 7, 2020, the

court issued an order denying the respondents’ motion for bail.3

This memorandum sets forth the court’s reasoning.

II.   FACTUAL ALLEGATIONS

      As the world entered the year 2020, it learned that Ghosn,

awaiting trial in Japan on serious financial charges, had fled

from Japan to Lebanon to avoid prosecution.               Notably, Lebanon has

no    extradition    treaty     with     Japan,    seriously      impacting    the

possibility of bringing Ghosn to trial.             Japan contends that the

respondents masterminded Ghosn’s escape.

      According     to    the    government’s       complaint,       immigration

documents    and    surveillance       video   indicate    that    Peter   Taylor

traveled to Japan at least three times and visited Ghosn on at

least seven occasions in the months preceding the escape.4                    Then,

on December 28, 2019, Peter Taylor arrived in Tokyo and checked

into a room at the Grand Hyatt.              Ghosn then arrived at the Grand

Hyatt and met with Peter Taylor for about an hour.


3 Both parties submitted post-hearing supplemental pleadings which the court
has considered in ruling on the respondents’ motion.

4 Authorities installed surveillance video at Ghosn’s Japanese home as a
condition of his bail.

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      On December 29, 2019, Michael Taylor and a third individual,

George-Antoine Zayek, traveled on a private jet from Dubai, United

Arab Emirates, to Japan’s Kansai International Airport. At Kansai,

Michael Taylor and Zayek carried large black audio equipment-style

cases and told airport workers that they were musicians.

      From Kansai, Michael Taylor and Zayek checked into the Star

Gate Hotel Kansai.    After placing the cases in one of their rooms,

they caught a train bound for Tokyo at about noon.

      At 2:30 p.m., also on December 29th, Ghosn left his home

without luggage and walked to the Grand Hyatt, where he apparently

changed into clothing from luggage that had been dropped off and

received by Peter Taylor earlier in the day.           Michael Taylor and

Zayek arrived in Tokyo at about 3:30 p.m. and went to Peter

Taylor’s room at the Grant Hyatt. Shortly thereafter, the Taylors,

Ghosn, and Zayek left Peter Taylor’s room at the same time, each

carrying luggage.

      Peter Taylor then traveled to the Narita Airport to catch a

flight to China.    However, Ghosn, Michael Taylor, and Zayek caught

a train back to the Kansai Airport area and returned to the Star

Gate Hotel Kansai at approximately 8:15 p.m.       At about 10:00 p.m.,

Michael Taylor and Zayek left the hotel with luggage, including

the   two   audio-style    cases,   and    went   to    Kansai   Airport.

Surveillance footage did not show Ghosn leaving the hotel.



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     Once at the airport, the baggage of Michael Taylor and Zayek

was loaded onto their private jet without being checked.          The jet

departed for Turkey at about 11:00 p.m.          On December 31, 2019,

Ghosn announced that he was in Lebanon.

III. DISCUSSION

     A. Legal Standard

     Extraditions are not regular criminal proceedings and the

familiar standards of the Bail Reform Act, 18 U.S.C. §3141,

therefore do not control.     See, e.g., Kamrin v. United States, 725

F.2d 1225, 1228 (9th Cir. 1984).        Instead, there is a presumption

against bail in extradition cases and in favor of detention, and

respondents must demonstrate “special circumstances” that justify

their release on bail.      United States v. Kin-Hong, 83 F.3d 523,

524 (1st Cir. 1996) (citing Wright v. Henkel, 190 U.S. 40, 63

(1903)).   The rationale behind the presumption against bail is

that “extradition cases involve an overriding national interest in

complying with treaty obligations” and ensuring that the putative

extraditee is delivered to the requesting country.         United States

v. Taitz, 130 F.R.D. 442, 444 (S.D. Cal. 1990).

     Determining whether a case presents special circumstances is

a case specific endeavor and “the list of potential ‘special

circumstances' is not limited to those previously recognized in

published decisions.”    United States v. Castaneda-Castillo, 739 F.

Supp. 2d 49, 56 (D. Mass. 2010) (citing In re Extradition of

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Gonzalez, 52 F. Supp. 2d 725, 736 (W.D. La. 1999)).                                  Special

circumstances,       though,      have    typically          been     limited     to     those

“situations where ‘the justification is pressing as well as plain,’

...    or   ‘in    the    most    pressing          circumstances,          and   when    the

requirements of justice are absolutely peremptory.’ ”                                  In re

Extradition of Drumm, 150 F. Supp. 3d 92, 96 (D. Mass 2015)

(quoting United States v. Williams, 611 F.2d 914, 915 (1st Cir.

1979) (citations omitted)).           Courts therefore have found that bail

is    appropriate    only    where       the       respondent’s       circumstances        are

“extraordinary” and will subject the respondent to difficulties

beyond those “applicable to all defendants facing extradition.”

Id. (citing In re Extradition of Nacif–Borge, 829 F. Supp. 1210,

1216 (D. Nev. 1993) (citations omitted)).

       Accordingly,       courts      have         granted     bail     in    only       truly

remarkable        circumstances       and          often     when     multiple       special

circumstances        bear        in   the           respondent’s        favor.             See

e.g., Castaneda–Castillo, 739 F. Supp. 2d at 58–64 (combination of

charge pending in Peru more than twenty–five years, incarcerated

five years pursuing amnesty petition, facing lengthy extradition

proceeding); In re Extradition of Santos, 473 F. Supp. 2d 1030,

1035–1036 (C.D. Cal. 2006) (combination of delay and a high degree

of    uncertainty        regarding       the       merits     of      the    request       for

extradition); In re Extradition of Molnar, 182 F. Supp. 2d 684,

687 (N.D. Ill. 2002) (combination of financial assistance to

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seriously ill mother, circumstances of arrest, lengthy extradition

proceedings, and criminal charges dropped and then reinstated when

petitioner left Hungary); see also Hu Yau–Leung v. Soscia, 649

F.2d 914 (2d Cir. 1981) (absence of a suitable facility in which

to detain juvenile extraditee); In re Mitchell, 171 F. 289, 290

(S.D.N.Y. 1909) (risk of petitioner’s loss of “all his fortune” if

not permitted to complete his participation in a civil proceeding

underway at the time of his arrest).

     In    addition   to    establishing     special   circumstances,   a

respondent must show by clear and convincing evidence that he is

neither a flight risk nor a danger to the community.           Castaneda-

Castillo, 739 F. Supp. 2d at 55.        Special circumstances and flight

risk/danger are both prerequisites to establishing entitlement to

bail in an extradition case and a court logically can address

either prong first.        United States v. Ramnath, 533 F. Supp. 2d

662, 665 n.3 (E.D. Tex. 2008).

     B.    Special Circumstances

     Turning first to the issue of special circumstances, the

respondents argue that special circumstances exist in this case

because:   (1) they have a high likelihood of success on the merits

with respect to the Japanese criminal prosecution; (2) they have

already been adjudicated “not guilty” by a third country; (3)

Michael Taylor has significant family responsibilities; and (4)

detention will subject the respondents to a high risk of exposure

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to the COVID-19 virus.    The respondents argue further that even if

each of these circumstances alone is insufficient to constitute a

special circumstance, they constitute a special circumstance when

considered together.      The court addresses each of the grounds

separately and then as a whole.

          1. Likelihood of Success on the Merits

     The Taylors contend that the underlying criminal case against

them is fatally flawed.        Some courts have held that a “high

probability” or “substantial likelihood” of success in defeating

the anticipated foreign prosecution may appropriately qualify as

a special circumstance.      See, e.g., Kin-Hong, 83 F.3d at 524-25

(“high probability of success”); Salerno v. United States, 878

F.2d 317 (9th Cir. 1989) (“high probability of success”); Ramnath,

533 F. Supp. 2d at 682 (“substantial likelihood”); Taitz, 130

F.R.D. at 444 (“high probability of success”).          Although not all

courts agree, see, e.g., United States v. Risner, No. 3:18-MJ-765-

BN, 2018 WL 6809796, at *12 (N.D. Tex. Dec. 27, 2018), this court

presumes that a high probability or substantial likelihood of

success may qualify as a special circumstance.

     The Taylors argue that even assuming they helped Ghosn flee

Japan, their conduct was not unlawful because Penal Code Article

103 does not make it criminal to assist a person’s escape unless

that person escapes from “confinement.”       According to the Taylors,

the term “confinement” under Japanese law means actual physical

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detention, and Ghosn was not confined at the time of his escape

because he had been released on bail.          Thus, while Ghosn may have

“jumped bail,” he did not escape from confinement within the

meaning of Article 103.         Consequently, contend the Taylors, they

cannot be found to have violated Article 103 where Ghosn was not

confined. To underscore this point, the respondents have submitted

various news articles as well as the declaration of a professor

from a Japanese law school noting that “bail jumping” itself is

not a crime in Japan. The court credits the respondents’ assertion

that “bail jumping” is not a crime in Japan but still does not

find this argument persuasive.

      The principal problem with the respondents’ argument is that

it   simply   ignores   other    unambiguous   language   in    Article   103

providing that the provision also applies to anyone who “harbors

or enables the escape of another person who has. . .committed a

crime,” without regard to whether the criminal was or was not in

confinement.    The respondents would appear to fall squarely within

the heartland of this portion of Article 103 where Ghosn had been

charged with a crime and the respondents then reportedly harbored

and/or helped him to escape to avoid prosecution.              Even assuming

that Ghosn himself did not violate Article 103 when he escaped

while on bail, that to this court is immaterial and would appear

to have no bearing on whether the respondents may be prosecuted as



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principals5 for harboring or enabling the escape of someone who

committed a crime.

     Notably,    the   government     has    cited     to   authority        provided

through the declaration of the Japanese prosecutor that Article

103 has indeed been used previously to successfully prosecute an

individual    who    helped    someone     who   was   indicted        but    not    in

confinement to escape.         (Declaration of Naoki Watanabe, D. 23-2,

¶ 12).     The respondents argue that the offered precedent is

distinguishable and not analogous.           Perhaps, perhaps not, but the

court is not versed in the nuances of Japanese criminal law and is

loath to attempt to decide an issue that should most appropriately

be decided by a Japanese court.            See, e.g., Skaftouros v. United

States, 667 F.3d 144, 156 (2d Cir. 2011) (“[I]t has long been

recognized    that     an     extradition    judge     should      avoid      making

determinations      regarding    foreign    law.”).         In   any    event,      the

respondents have not pointed to any authority holding or suggesting

that Article 103 cannot apply to someone who harbors a bailed

defendant or helps him to escape.

     In sum, even assuming arguendo that the respondents have a

potentially non-frivolous legal defense, they have not here shown


5 The respondents also contend that because bail jumping is not a crime in
Japan, punishing the respondents where Ghosn could not be punished would run
afoul of another provision of Japan’s Penal Code, Article 63, which provides
that the punishment of an accessory shall be less than that for a principal.
As with their primary argument, however, this argument fails to appreciate
that the respondents have not been charged as accessories to Ghosn’s bail
jumping, but rather have been charged as principals for harboring or enabling
a criminal’s escape.

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a “high probability” or “substantial likelihood” of success on the

merits.     This ground therefore does not constitute a special

circumstance.

            2. Prior Adjudication by a Third Country

       The respondents ask the court to consider that                   a third

country,    Lebanon,     has     already     considered    their   conduct      and

determined that they did not commit a crime.               In support of this

claim, the respondents have submitted a declaration from a Lebanese

attorney who claims that the Lebanese prosecutor overseeing the

investigation of the Taylors in Lebanon “close[d] the case” after

a family member of the Taylors asked the prosecutor to “proceed

with the investigation.”          According to the Lebanese attorney (as

opposed to the prosecutor), the closing of the case rendered the

respondents    “not     guilty    before     Lebanese   jurisdictions      of   any

criminal act in the alleged unlawful departure of Mr. Carlos Ghosn

from Japan . . . .”          (Declaration of Naoum Toubia Farah, D. 17-

11).

       The Taylors argue that this development constitutes a special

circumstance because Article IV, Section 2 of the Treaty provides

that “[t]he requested Party may refuse extradition when the person

sought has been tried and acquitted, or has undergone the execution

of   punishment    in    a   third    State    for   the   offense   for     which

extradition is requested.”           As such, the respondents suggest that

they stand a more colorable chance of avoiding extradition as a

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result of the Lebanese prosecutor’s declination.                  This argument

has    no   force.    To   state    the     obvious,   the    respondents    were

apparently not even charged with an offense in Lebanon, let alone

“tried and acquitted.”           The Treaty provision cited is thus not

even remotely implicated and provides no basis for relief here.

Moreover, because considerations of whether to grant or refuse

extradition rest exclusively with the Executive branch, and would

not take place until much later, after a court has determined

extraditability, the possibility of obtaining protection through

this Treaty provision is simply too speculative a ground at present

to constitute a special circumstance warranting bail.

              3. Family Responsibilities

       Michael    Taylor   argues     that    he    has   significant    family

responsibilities militating in favor of his release.                Among other

things, he claims (and the court credits) that he has been the

sole    caregiver    for   his    81-year-old      adoptive   stepfather,     who

suffers from many health issues, and his detention therefore would

cause a significant struggle for the Taylor family, who have had

to ask another of Mr. Taylor’s sons as well as neighbors to assist

in his absence.

       The court is sympathetic to Mr. Taylor’s situation and credits

that    his   continued    detention      would    meaningfully    disrupt   the

routine of care previously in place to address his stepfather’s

needs.      As the government notes, though, detention commonly acts

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to deprive a family or loved one of the support of a helpful and

vital member.    Extradition courts for that reason have rejected

familial caretaking responsibilities as a special circumstance.

See, e.g., In re Extradition of Russell, 805 F.2d 1215, 1217 (5th

Cir. 1986) (“[F]inancial and emotional hardship [on family members

is] present in almost all cases.”); Drumm, 150 F. Supp. 3d at 99–

100 (citing Castaneda–Castillo, 739 F. Supp. 2d at 57) (providing

financial and emotional support not a special circumstance); Duca

v. United States, No. 95-cv-713, 1995 WL 428636, at *15, 16

(E.D.N.Y. July 7, 1995) (finding wife’s advanced dementia not to

constitute a special circumstance), aff’d sub nom. Lo Duca v.

United States, 93 F.3d 1100 (2d Cir. 1996).               Accordingly, Mr.

Taylor’s   family   responsibilities     do   not   constitute     a    special

circumstance weighing in favor of release.

            4. Issues Relating to COVID-19

     The respondents argue without great elaboration that “an

outbreak” of the COVID-19 virus at the Norfolk County Correctional

Facility (Norfolk) where they are being held should be deemed a

special    circumstance   warranting     bail.      The   health       concerns

relating to the virus are well known but the court does not find

them to be a special circumstance on the basis of the present

record.

     As    an   initial   matter,    the      respondents   offer        little

information to meaningfully assess the severity of the risk of

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exposure or infection should they remain detained at Norfolk

pending the resolution of the extradition proceedings. To be sure,

they note, and the court credits, that the number of people testing

positive for the virus at Norfolk increased from four to 35 between

May 26 and June 18, 2020.       They assert further that Michael Taylor

is 59 years old and has had part of one lung removed due to a

fungal   infection,     which   may   place   him   at   a   higher   risk   of

complications from COVID-19 than the general public.

     That being said, the respondents fail to provide medical

records for Michael Taylor or any physician’s opinion that he is

at a particularly greater risk for complications should he contract

the virus.     Moreover, the government has submitted the unrefuted

declaration of the Assistant Deputy Superintendent at Norfolk, who

avers among other things that no one housed in the unit where the

respondents are being held has tested positive for the virus.

Further, the facility continues to employ significant measures to

ensure   the   safety    of   its   population,     including   placing      new

detainees in quarantine for 14 days; suspending family and friend

visits; requiring the use of masks; and cleaning housing units

three times per day. (D. 23-4, Declaration of Danielle Boomhower).

     The court is mindful that the severity of the risks posed to

any detainee by the COVID-19 virus depends on several variables

and may change quickly, such that conditions at Norfolk could at



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some future point yet constitute a special circumstance.                   The

record does not support such a finding at present, however.

              5. Combination of Circumstances

      Finally, the respondents argue that the grounds offered above

amount to a special circumstance if considered together, even if

no ground standing alone suffices.          For the reasons noted above,

however, none of the grounds offered is exceptional and they fail

in the court’s view to amount to a special circumstance even when

viewed   in    the   aggregate.     Even    were   the   court   to   conclude

otherwise,      detention   would   still    be    warranted     because   the

respondents have not demonstrated by clear and convincing evidence

that their release would not pose an unreasonable risk of flight.

      C. Risk of Flight and Danger to the Community

      As noted, a respondent bears the burden of demonstrating by

clear and convincing evidence that he is neither a risk of

flight nor a danger to the community.          Drumm, 150 F. Supp. 3d at

96.   No one seriously argues that the respondents’ release would

pose a danger to the community.        The government argues however

that each poses an “exceptional” risk of flight.

              1. Michael Taylor

      In arguing that he does not pose a flight risk, Michael

Taylor stresses that he voluntarily returned to the United

States from Lebanon despite knowing of the Japanese warrants and

the existence of the extradition treaty.           He concedes that he

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has strong ties to Lebanon, where his wife is from and where he

owns a home, but contends that he returned to the United States

on his own, despite these ties, and despite the fact that

remaining in Lebanon would have effectively shielded him from an

extradition process he knew was likely to ensue.

         Mr. Taylor further points out that he has on two prior

occasions in 2007 and 2012 returned to the United States to

answer charges against him.          With respect to the 2012 charges,

Mr. Taylor states that while he did plead guilty to honest

services wire fraud, he was eventually released for 16 months

pending sentencing and during that time fully complied with all

conditions of release, and even assisted federal law enforcement

in a complex overseas investigation.

         Finally, Mr. Taylor offers that the maximum punishment for

his alleged offense in Japan is three6 years, and likely to be

less in reality, giving him little incentive to flee.

         The points raised by Mr. Taylor are not insubstantial and

in a routine domestic criminal matter might provide a strong

basis to warrant release on bail with conditions.                 In this case,

however, they fail in light of the charges and Mr. Taylor’s past

to persuade by clear and convincing evidence that he is not

likely to flee.        As the magistrate judge, district judge, and




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    The maximum penalty under Article 103 is in fact two years.

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Tenth Circuit Court of Appeals all agreed in Mr. Taylor’s 2012

case, there was “ample” evidence that he posed a flight risk due

to his planning skills and experience with clandestine

operations.   United States v. Taylor, 524 F. App'x 386, 387

(10th Cir. 2013).

    And since then, of course, Mr. Taylor is alleged to have

used his skills and experience to plan and execute a most

intricate, sophisticated, and deceptive scheme spanning several

countries and most surely requiring massive expenditures of time

and money.    Even assuming Mr. Taylor now sincerely harbors a

belief that he is not likely to be convicted or face a serious

term of incarceration if extradited and convicted, and would

intend to spend his time caring for his stepfather, those

factors do not come close to mitigating the risk that would

otherwise be posed by his release, particularly where he has

strong ties to Lebanon and apparently has (along with Peter

Taylor) substantial resources that could be exploited, including

approximately $860,000 Ghosn appears to have wired in October

2019 to a limited liability corporation controlled by Peter

Taylor and his brother.    See D. 38.    In light of these facts and

the spectacular allegations underlying the Japanese case, the

respondent does not merit the benefit of any doubt.




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            2. Peter Taylor

      The court finds for similar reasons that Peter Taylor has

not demonstrated by clear and convincing evidence that he would

not flee if released.     Among other things, he has strong ties to

Lebanon, completed his college education there, and in fact

recently resided there while trying to establish the family’s

business.    Moreover, he reportedly played a significant role in

facilitating Ghosn’s escape from Japan.        This included traveling

to Japan on multiple occasions to meet with Ghosn in advance of

the escape and coordinating Ghosn’s transition to the Grand

Hyatt.   At a minimum the facts reflect a greater than passing

experience in covert international planning.

IV.   CONCLUSION

      For the foregoing reasons, the Respondents’ Motion To Quash

Arrest Warrants Or, In The Alternative, For Release Pending

Final Disposition On Request For Extradition (D. 17) is DENIED.



                                         /s/ Donald L. Cabell
                                         DONALD L. CABELL, U.S.M.J.


DATED:   July 10, 2020




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